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                     EXHIBIT 1
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 2 of 16 Pageid#: 548




                     FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 13, 2017, I electronically filed the Motion to Proceed

   Under Pseudonyms (with its initial certificate of service and supporting materials) with the Clerk

   of the Court using the CM/ECF system, and entered as Docket Entry 98. I hereby further certify,

   on November 27, 2017, that I have also served the following additional non-ECF participant with

   said notice, via U.S. mail, First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 3 of 16 Pageid#: 549




                     FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 14, 2017, I electronically filed the Notice of

   Supplemental Service (with its initial certificate of service) with the Clerk of the Court using the

   CM/ECF system, and entered as Docket Entry 103. I hereby further certify, on November 27,

   2017, that I have also served the following additional non-ECF participant with said notice, via

   U.S. mail, First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
                                                         11951 Freedom Drive, 14th Floor
                                                         Reston, VA 20190-5656
                                                         Telephone: (703) 456-8000
                                                         Fax: (703) 456-8100
                                                         Email: rcahill@cooley.com

                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 4 of 16 Pageid#: 550




                     FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 22, 2017, I electronically filed the Joint Motion for

   Extension of Time (with its initial certificate of service) with the Clerk of the Court using the

   CM/ECF system, and entered as Docket Entry 119. I hereby further certify, on November 27,

   2017, that I have also served the following additional non-ECF participant with said notice, via

   U.S. mail, First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
                                                         11951 Freedom Drive, 14th Floor
                                                         Reston, VA 20190-5656
                                                         Telephone: (703) 456-8000
                                                         Fax: (703) 456-8100
                                                         Email: rcahill@cooley.com

                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 5 of 16 Pageid#: 551




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 9, 2017, I electronically filed the Notice of

   Supplemental Service (with its initial certificate of service) with the Clerk of the Court using the

   CM/ECF system, and entered as Docket Entry 91. On November 14, 2017, I electronically filed

   a First Supplemental Certificate of Service for said notice (see Docket Entry 103). I hereby

   further certify, on November 27, 2017, that I have also served the following additional non-ECF

   participant with said notice, via U.S. mail, First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
                                                         11951 Freedom Drive, 14th Floor
                                                         Reston, VA 20190-5656
                                                         Telephone: (703) 456-8000
                                                         Fax: (703) 456-8100
                                                         Email: rcahill@cooley.com

                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 6 of 16 Pageid#: 552




                    THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Yotam Barkai (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 78. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

   for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

   have also served the following additional non-ECF participant with said motion, via U.S. mail,

   First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 7 of 16 Pageid#: 553




                    THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Philip M. Bowman (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 79. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

   for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

   have also served the following additional non-ECF participant with said motion, via U.S. mail,

   First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 8 of 16 Pageid#: 554




                    THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Karen L. Dunn (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 80. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

   for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

   have also served the following additional non-ECF participant with said motion, via U.S. mail,

   First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 9 of 16 Pageid#: 555




                    THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Julie E. Fink (with its initial certificate of service) with the Clerk of the Court

   using the CM/ECF system, and entered as Docket Entry 70. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

   for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

   have also served the following additional non-ECF participant with said motion, via U.S. mail,

   First Class and postage prepaid:


   Vanguard America
   c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
   383 Hazzard Street
   Scottsburg, Indiana 47170


                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
                                                         11951 Freedom Drive, 14th Floor
                                                         Reston, VA 20190-5656
                                                         Telephone: (703) 456-8000
                                                         Fax: (703) 456-8100
                                                         Email: rcahill@cooley.com

                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 10 of 16 Pageid#:
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                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Christopher B. Greene (with its initial certificate of service) with the Clerk of

 the Court using the CM/ECF system, and entered as Docket Entry 71. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 11 of 16 Pageid#:
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                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of William A. Isaacson (with its initial certificate of service) with the Clerk of

 the Court using the CM/ECF system, and entered as Docket Entry 81. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 12 of 16 Pageid#:
                                    558



                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 2, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Roberta A. Kaplan (with its initial certificate of service) with the Clerk of the

 Court using the CM/ECF system, and entered as Docket Entry 66. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 13 of 16 Pageid#:
                                    559



                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Alan Levine (with its initial certificate of service) with the Clerk of the Court

 using the CM/ECF system, and entered as Docket Entry 68. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 14 of 16 Pageid#:
                                    560



                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Joshua J. Libling (with its initial certificate of service) with the Clerk of the

 Court using the CM/ECF system, and entered as Docket Entry 82. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 15 of 16 Pageid#:
                                    561



                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of David E. Mills (with its initial certificate of service) with the Clerk of the

 Court using the CM/ECF system, and entered as Docket Entry 69. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 121-1 Filed 11/27/17 Page 16 of 16 Pageid#:
                                    562



                  THIRD SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Seguin L. Strohmeier (with its initial certificate of service) with the Clerk of

 the Court using the CM/ECF system, and entered as Docket Entry 72. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). On November 14, 2017, I electronically filed a Second Supplemental Certificate of Service

 for said motion (see Docket Entry 103). I hereby further certify, on November 27, 2017, that I

 have also served the following additional non-ECF participant with said motion, via U.S. mail,

 First Class and postage prepaid:


 Vanguard America
 c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
 383 Hazzard Street
 Scottsburg, Indiana 47170


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
